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                  IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                           PINE BLUFF DIVISION

CHARLES E. HAMNER, ADC #143063                                           PLAINTIFF

v.                        NO. 5:17CV00079 JLH/BD

DANNY BURLS, et al.                                                  DEFENDANTS

                                     ANSWER

      Comes the Defendants Danny Burl, Connie Jenkins, Maurice Williams, Steve

Outlaw, and Marvin Evans, (hereinafter referred to collectively as the “ADC

Defendants”), by and through their attorneys Attorney General Leslie Rutledge and

Assistant Attorney General William C. Bird III, and for their Answer, do state:

      1.      ADC Defendants admit jurisdiction is proper in this Court but deny

any and all other allegations contained in paragraph one (1) of the Complaint.

      2.      ADC Defendants admit venue is proper in this Court but deny any and

all other allegations contained in paragraph two (2) of the Complaint.

      3.      ADC Defendants admit the allegations contained in paragraph three

(3) of the Complaint.

      4.      ADC Defendants admit Defendant Burl is the Warden of the

Maximum Security Unit of the ADC and further admit he was a member of the

classification committee at all times relevant to the incidents giving rise to this

cause of action but deny any and all other allegations contained in paragraph four

(4) of the Complaint.




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      5.      ADC Defendants admit Defendant Jenkins was a classification officer

at all times relevant to the incidents giving rise to this cause of action but deny any

and all other allegations contained in paragraph five (5) of the Complaint.

      6.      ADC Defendants admit Defendant Williams was a member of the

classification committee at all times relevant to the incidents giving rise to this

cause of action but deny any and all other allegations contained in paragraph six (6)

of the Complaint.

      7.      ADC Defendants admit Defendant Outlaw was Deputy Warden of the

Maximum Security Unit and a member of the classification committee at all times

relevant to the incidents giving rise to this cause of action but deny any and all

other allegations contained in paragraph seven (7) of the Complaint.

      8.      ADC Defendants admit Defendant Evans was a deputy director with

the ADC at all times relevant to the incidents giving rise to this cause of action but

deny any and all other allegations contained in paragraph eight (8) of the

Complaint.

      9.      ADC Defendants deny the allegations contained in paragraph nine (9)

of the Complaint.

      10.     ADC Defendants deny they have retaliated against Plaintiff for use of

the inmate grievance procedure.

      11.     With regard to the allegations contained in paragraphs three (3)

through 25 (DE 2, pp. 8-26) of Plaintiff’s Complaint, ADC Defendants assert that

the various grievances cited by Plaintiff speak for themselves, and ADC Defendants



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specifically deny any and all allegations of wrongdoing claimed against them in

paragraphs three (3) through 25.

      12.    With regard to the allegations contained in paragraph 26 of the

Complaint, ADC Defendants deny Plaintiff has exhausted his administrative

remedies.

      13.    Paragraph 27 of the Complaint makes no allegations against the ADC

Defendants and therefore no response to such allegations is required.

      14.    ADC Defendants deny the allegations contained in paragraph 28 of the

Complaint.

      15.    ADC Defendants deny the allegations contained in paragraph 29 of the

Complaint.

      16.    ADC Defendants deny the allegations contained in paragraph 30 of the

Complaint and deny Plaintiff is entitled to the relief requested therein.

      17.    ADC Defendants deny the allegations contained in paragraph 31 of the

Complaint and deny Plaintiff is entitled to the relief requested therein.

      18.    ADC Defendants deny the allegations contained in paragraph 32 of the

Complaint and deny Plaintiff is entitled to the relief requested therein.

      19.    Paragraph 33 of the Complaint makes no allegations against the ADC

Defendants and therefore no response to such allegations is required.

      20.    ADC Defendants deny the allegations contained in paragraph 34 of the

Complaint and deny Plaintiff is entitled to the relief requested therein.




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      21.     ADC Defendants deny each and every allegation contained in

Plaintiff’s Complaint not specifically admitted herein and demands strict proof

thereof.

      22.     ADC Defendants deny Plaintiff is entitled to compensatory or punitive

damages.

      23.     ADC Defendants assert the following affirmative defenses:

              a. Failure to exhaust administrative remedies;

              b. Sovereign and qualified immunity;

              c. Non-compliance with the Prison Litigation Reform Act;

              d. Absence of physical injury;

              e. Failure to state a claim upon which relief can be granted;

              f. Issue or claim preclusion;

              g. Statute of limitations;

              h. Lack of jurisdiction;

              i. No liability under respondeat superior;

              j. Failure to mitigate damages;

              k. Punitive   damages        prohibited   by   the   U.S.   and   Arkansas

                 Constitutions;

              l. Lack of standing;

              m. Justification;

              n. Waiver;

              o. Failure to join an indispensable party;



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      24.    ADC Defendants reserve the right to assert additional affirmative

defenses and amend their Answer pending further investigation of this matter.

      WHEREFORE, Separate Defendants Danny Burls, Connie Jenkins, Maurice

Williams, Steve Outlaw, and Marvin Evans pray this Court dismiss the Complaint

of the Plaintiff, for their reasonable attorneys’ fees and costs, and for all other just

and proper relief to which she is entitled.



                                                  Respectfully submitted,

                                                  Leslie Rutledge
                                                  Attorney General

                                        By:       /s/ William C. Bird III
                                                  Arkansas Bar No. 2005149
                                                  Assistant Attorney General
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                                                  william.bird@arkansasag.gov

                                                  Attorneys for Separate Defendants




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                         CERTIFICATE OF SERVICE

      I, William C. Bird, Assistant Attorney General, do hereby certify that on
September 26, 2017, I electronically filed the forgoing with the Clerk of the Court
using the CM/ECF system.

     I, William C. Bird, hereby certify that on September 26, 2017, I mailed this
document by U.S. Postal Service to the following non CM/ECF participant:

      Mr. Charles Hamner, ADC #143063
      Varner Supermax
      Arkansas Department of Correction
      P.O. Box 400
      Grady, Arkansas 71644-0600

                                                   /s/ William C. Bird III
                                                   William C. Bird III




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